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  11
                           UNITED STATES DISTRICT COURT
  12
  13                     CENTRAL DISTRICT OF CALIFORNIA
  14
  15   IN RE APPLICATION OF                   Misc. Action No. ______
       SHERVIN PISHEVAR FOR AN
  16   ORDER TO TAKE DISCOVERY                MEMORANDUM OF POINTS
       FOR USE IN FOREIGN                     AND AUTHORITIES IN SUPPORT
  17   PROCEEDINGS PURSUANT TO 28             OF PETITIONER’S EX PARTE
       U.S.C. § 1782,                         APPLICATION AND PETITION
  18                                          FOR AN ORDER TO CONDUCT
                                Petitioner.   DISCOVERY FOR USE IN
  19                                          FOREIGN PROCEEDINGS
                                              PURSUANT TO 28 U.S.C. § 1782
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   1        Shervin Pishevar (“Petitioner”), respectfully submits this Memorandum of
   2 Points and Authorities in support of his Application and Petition pursuant to 28 U.S.C.
   3 § 1782 (“Section 1782”), for an order authorizing him to obtain limited discovery
   4 from Sam Anson (“Mr. Anson” or the “Respondent”), in the form of the attached
   5 subpoenas duces tecum and ad testificandum (the “Subpoenas”) (the “Application”).1
   6                           PRELIMINARY STATEMENT
   7        Petitioner is the victim of an international conspiracy which sought to destroy
   8 his reputation and character. This Application arises from the forgery of a British
   9 police report (“Forged Police Report”) that was supplied by someone in the United
  10 Kingdom (“UK Source”) to an individual in Washington, D.C. (“D.C. Source”), who
  11 in turn gave it to a journalist—Mr. Marcus Baram—who used the forged report in an
  12 article published by Fast Company, a leading technology news magazine (“Baram
  13 Article”).2 The article, which played a key role in disseminating false information,
  14 caused Petitioner to suffer irreparable harm to his reputation and standing. The
  15 Respondent has identifying information about the D.C. Source (the “Identifying
  16 Information”) but cannot disclose that information absent a subpoena.              The
  17 Respondent therefore has possession, custody, or control of the Identifying
  18 Information sufficient to likely identify the D.C. Source, who in turn would be able
  19 to identify the UK Source and anyone else involved in the creation or malicious
  20 dissemination of the Forged Police Report and other false information about the
  21 Petitioner (“Forgers”). Petitioner brings this Application to obtain that information
  22 for use in contemplated civil and criminal proceedings in England against the Forgers
  23 (“Contemplated English Proceedings”).
  24
  25
  26
        1
          The Subpoenas are attached as Exhibit 2 to the Declaration of Lucas Bento, dated
  27 February 23, 2021 (“Bento Decl.”).
        2
  28      Declaration of Charlotte Watson, dated February 19, 2021 (“Watson Decl.”) ¶
     21 & Ex. 5.
                                             -1-
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   1          In seeking to uncover the identity of the D.C. Source, the Petitioner also filed
   2 in the U.S. District Court for the Southern District of New York (“SDNY”) two
   3 Section 1782 actions against Fast Company and Mr. Baram to obtain the name of the
   4 D.C. Source (“SDNY 1782 Actions”). Mr. Baram, however, sought to shield the
   5 identity of the D.C. Source by relying on the reporter’s privilege. After Petitioner
   6 exhausted additional potential sources of that information, the SDNY court ultimately
   7 held that Petitioner successfully overcame the reporters’ privilege by making, inter
   8 alia, a clear and convincing showing that the identity of the D.C. Source was not
   9 obtainable from other sources and, accordingly, ordered Mr. Baram to disclose the
  10 identity of the D.C. Source. However, having now received new information that the
  11 Respondent has Identifying Information that could likely identify the D.C. Source,
  12 Petitioner seeks to exhaust the Respondent as an alternative source.
  13          This Application meets all of the requirements of Section 1782.             The
  14 Respondent resides or is found in this district. The discovery sought by the Petitioner
  15 is relevant to the issues at stake in the Contemplated English Proceedings. Moreover,
  16 each of the discretionary factors laid down in the Supreme Court’s Intel decision favor
  17 the discovery sought by Petitioner. Accordingly, Petitioner respectfully requests that
  18 the Court grant his Application and permit him to serve the Subpoenas on the
  19 Respondent.
  20 I.       FACTUAL BACKGROUND
  21          A.    The Parties
  22          Shervin Pishevar. Shervin Pishevar is a venture capital investor, entrepreneur
  23 and philanthropist.3 He is the co-founder of Sherpa Capital, a leading venture capital
  24 firm. He was chosen by the U.S. Government as an “Outstanding American by
  25 Choice,” one of the only 100 naturalized Americans to be so chosen since the
  26
  27      3
         Watson Decl. ¶ 9; Declaration of Lord Macdonald of River Glaven Kt QC,
  28 dated February 16, 2021 (“Macdonald Decl.”) ¶ 8.
                                             -2-
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    1 inception of the award.4 In 2015, he was appointed to the J. William Fulbright Foreign
    2 Scholarship Board.5
    3          Respondent. The Respondent is a private investigator based in Los Angeles,
    4 CA, and residing 6 at REDACTED                     , Los Angeles, CA 90026. 7 The
    5 Respondent has stated that, while he has Identifying Information that may help
    6 identify the D.C. Source, he will only provide that Identifying Information upon
    7 receipt of a Subpoena.8
    8          B.    Petitioner’s Encounter With British Police
    9          On May 27, 2017, Petitioner had consensual sexual intercourse with a female
  10 acquaintance at a hotel in London.9 Later that day, Petitioner was woken by police
  11 officers in his hotel room and arrested by City of London Police (“COLP”) on
  12 suspicion of sexual assault.10 The arrest was a total shock to the Petitioner, who was
  13 understandably distressed and traumatized by it.11 Petitioner was released on bail on
  14 May 28, 2017, and on July 28, 2017, the COLP confirmed to Petitioner that they
  15 would be taking no further action against him due to insufficient evidence.12
  16           After he received enquiries into the arrest by a journalist for a UK newspaper
  17 (the Sun), on June 21, 2017, Petitioner obtained an injunction in England preventing
  18 the Sun from naming or identifying Petitioner in relation to the arrest in any future
  19
  20       4
              Macdonald Decl. ¶ 8.
  21       5
              Bento Decl. Ex. 12.
           6
  22          The Respondent’s home address has been redacted herein and in the
        documents accomanying this Application pursuant to Local Rule 5.2-1, and which
  23    provides that “[t]he filer shall . . . ensure that any document that contains a home
        address shall include only the city and state.” L.R. 5.2-1.
  24       7
              Bento Decl. Exs. 3-4.
           8
  25          Bento Decl. ¶¶ 15-16.
           9
              Watson Decl. ¶¶ 10-11.
  26       10
               Id. ¶ 10.
  27       11
               Id. ¶ 11.
           12
  28           Id. ¶ 12.
                                                       -3-
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    1 publications (the “Injunction”).13 The Injunction was granted on the basis that if the
    2 Sun published an article speculating about Petitioner’s arrest, it would have been a
    3 gross invasion of his privacy rights as protected by Article 8 of the Human Rights Act
    4 1998.14
    5          On August 1, 2017, COLP released a press statement which stated: “Following
    6 an investigation into a report of a rape at a location on Poultry, EC2 [London] on
    7 Saturday 27 May 2017, we can confirm that no further action will be taken. A 43-
    8 year-old man from San Francisco was initially arrested on suspicion of rape before
    9 being released under investigation.”15 Petitioner was not named, and per the press
  10 statement on August 1, 2017, COLP announced the investigation had ended.16
  11           C.    U.S.-Based Reporter (Mr. Marcus Baram) Obtains Forged Police
  12                 Report
  13           Based on information provided to Petitioner in response to prior Section 1782
  14 subpoenas to Fast Company in the SDNY 1782 Actions, see infra I. H, in September
  15 2017, Mr. Marcus Baram met with the D.C. Source in a café in Washington, D.C.17
  16 At that meeting, the D.C. Source handed the Mr. Baram a USB pen drive containing
  17 a copy of the Forged Police Report, which the D.C. Source allegedly obtained from a
  18 “male lawyer in the United Kingdom” (“UK Source”). 18 The D.C. Source also
  19 communicated additional fabricated allegations concerning the arrest, including the
  20 Petitioner purportedly paid the alleged victim money to “drop[ ] the charges”, that the
  21 “[G]old [C]ommand” of the British Police was allegedly involved, and that the British
  22
  23
  24      13
               Id. ¶ 13.
          14
  25           Id. ¶ 13.
          15
               Id. ¶ 14.
  26      16
               Id. ¶ 14.
  27      17
                Bento Decl. Ex. 8; Macdonald Decl. Ex. 8.
          18
  28            Bento Decl. Exs. 6, 8, 9.
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    1 information.25 Due to the fraudulent details contained in the Forged Police Report,
    2 anyone who read it would wrongly associate Petitioner with disreputable or notorious
    3 conduct. 26 Mr. Baram requested that COLP confirm whether the Forged Police
    4 Report was authentic.27 On October 20, 2019—almost three weeks before Mr. Baram
    5 published his article—COLP responded that the Forged Police Report was not
    6 authentic, and clarified that report format used in the Forged Police Report was not
    7 one used by COLP, and further, that the purported police officer who authored the
    8 report was not, in fact, an officer employed by COLP.28
    9        The COLP further confirmed its findings in an internal investigation into the
   10 Forged Police Report and shared the results of that investigation with Mr. Baram in
   11 an email dated October, 23, 2017, where COLP stated it believed that the Forged
   12 Police Report was “false.”29 On October 24, 2017, COLP produced a report, which
   13 stated that it was “unlikely” that the Forged Police Report had been created within
   14 COLP or leaked by COLP to the media.30 Thereafter, on or around October 24, 2017,
   15 COLP confirmed to Mr. Baram and others that the report was a fake.31 In another
   16 email in response to Mr. Baram, dated October 31, 2017, COLP confirmed that
   17 Petitioner’s case had not been reopened.32
   18
   19
   20
          25
             Watson Decl. ¶ 16; see also In Re Application of Shervin Pishevar for an
   21 Order to Take Discovery for Use in Foreign Proceedings Pursuant to 28 U.S.C.
      1782, No. 1:19-mc-00503-JGK-SDA (“Second SDNY 1782 Application”), Opinion
   22 & Order, ECF 77 at 13 (stating that “the Court notes that these documents contain
      false details from an arrest and investigation that later was dropped”).
   23     26
             Watson Decl. ¶ 16.
   24     27
             Id.
          28
   25        Watson Decl. ¶ 16 & Ex. 3.
          29
             Watson Decl. ¶ 17 & Ex. 4.
   26     30
             Watson Decl. ¶ 18.
   27     31
             Id.
          32
   28        Id.
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    1          On November 7, 2017, Mr. Baram contacted COLP again and enquired whether
    2 they could provide further details about the case. 33          COLP again confirmed
    3 Petitioner’s case had not been reopened and stated they had no further comment on
    4 the matter.34
    5          After being contacted by various media organizations requesting comment on
    6 the Forged Police Report, on November 8, 2017, Petitioner had no choice but to
    7 release a statement in which he confirmed that in May 2017 he was detained briefly
    8 in London in connection with an alleged sexual assault, an allegation categorically
    9 denied by Petitioner. 35 The statement also confirmed that in July 2017 he was
   10 informed that no further action would be taken against him.36
   11          E.     Mr. Baram’s Publication Of Article Disseminating Forged Police
   12                 Report
   13          Notwithstanding the fact that COLP previously communicated to Mr. Baram
   14 that the Forged Police Report was false, on November 8, 2017, Mr. Baram and Fast
   15 Company nonetheless published the Baram Article.37 The Article made reference to
   16 details contained in the Forged Police Report, including false information about the
   17 circumstances leading to the arrest. 38 The Baram Article was wrongly afforded
   18 greater credibility because it referred to the details of the Forged Police Report.39
   19          The following day, on November 9, 2017, more publications released articles
   20 referring to the contents of the Forged Police Report. The New York Post published
   21 an article entitled “Billionaire ally of ex-Uber CEO busted on rape charge” which
   22
   23     33
               Watson Decl. ¶ 19.
   24     34
               Id.
          35
   25          Id. ¶ 20.
          36
               Id.
   26     37
               Id. ¶ 21 & Ex. 5.
   27     38
               Id.
          39
   28          Watson Decl. ¶ 21.
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    1 included details from the Forged Police Report.40 Forbes published an article entitled
    2 “Shervin Pishevar, arrested but never charged over alleged rape, says he’s a victim of
    3 ‘smear campaign,’” which stated that “a copy of the police report obtained by Forbes,
    4 confirms the details of the arrest and the identity of the suspect.”41
    5          F.    Petitioner Uncovers, And British Police Confirm, That Report Is
    6                Fake
    7          On November 9, 2017, Hickman & Rose, English criminal counsel for
    8 Petitioner, contacted COLP to inquire whether any private information relating to
    9 Petitioner had been disclosed to the media following the arrest.42 On November 10,
   10 2017, COLP confirmed that no such disclosure had been made and Hickman & Rose
   11 responded with a request for a copy of the Forged Police Report.43 On November 13,
   12 2017, COLP declined the request due to ongoing enquiries as to the purported
   13 commission of any criminal offences related to the Forged Police Report.44
   14          In an email to COLP dated September 28, 2018, Hickman & Rose renewed
   15 their request for a copy of the Forged Police Report as well as confirmation as to the
   16 source that provided it to COLP.45 In a response dated October 25, 2018, COLP’s in-
   17 house lawyer stated that they “can confirm that there is no criminal investigation in
   18 respect of the document in question. The City of London Police is content for me to
   19 inform you that the screenshot of the document was supplied to them by Marcus
   20 Baram of Fast Company. The City of London Police is not prepared to provide a copy
   21 of the screenshot without a court order requiring disclosure.”46
   22
   23     40
               Id. ¶ 22.
   24     41
               Id.
          42
   25          Id. ¶ 23.
          43
               Id.
   26     44
               Id.
   27     45
               Id. ¶ 25.
          46
   28          Id. ¶ 25 & Ex 6.
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    1           On November 1, 2018, Hickman & Rose made a Subject Access Request
    2 (similar to a Freedom of Information request in the U.S.) to the COLP for the Forged
    3 Police Report.47 On April 4, 2019, Hickman & Rose subsequently made a disclosure
    4 application to the English High Court seeking to compel the COLP to disclose the
    5 information that had been requested.48 On May 29, 2019, the English High Court
    6 ordered the COLP to comply with the request. 49 On the same day, the COLP
    7 complied and provided a copy of the Forged Police Report to Hickman & Rose.50 The
    8 COLP further confirmed via a signed witness statement from Teresa La Thangue
    9 (COLP’s Communications Director) that the Forged Police Report was fake:
   10                 “2. On the 18 October 2017, Corporate Communications received
                an email from Marcus Baram, a journalist, stating that he had
   11
                obtained the ‘arrest report’ in relation to matter that he had previously
   12           enquired about; a report of rape at the Ned Hotel on the 27 May 2017. I
                now produce marked “TLT/I” a copy of the said email.
   13
   14                  3. In his email of the 18 October 2017, Marcus Baram asked us to
                verify that the document attached to his email was authentic. The
   15
                attached document was a screenshot of what appeared to be an arrest
   16           report. I now produce marked “TLT/2” a copy of the attachment
   17
                      4. The ‘arrest report’ was sent to the City of London Police’s
   18           Professional Standards Directorate who were able to confirm that the
   19           document was not a City of London Police document.

   20                 5. Thereafter, Marcus Baram was told, along with any other
   21           journalists who enquired, that it was a fake, explaining that it was
                not a document that is used by the City of London Police, and that
   22           the officer named does not work and has not worked for the City of
   23           London Police.”51

   24      47
              Watson Decl. ¶ 26; Macdonald Decl. ¶ 17.
   25      48
              Macdonald Decl. ¶ 18; Watson Decl. ¶ 26.
           49
   26         Macdonald Decl. ¶ 18.
           50
              Watson Decl. ¶ 27. Specifically, the copy was a screenshot of the purported
   27   Forged Police Report which had been sent by Mr. Baram to the COLP.
           51
   28         Macdonald Decl. ¶ 19 & Ex. 5 (emphasis added); Watson Decl. ¶ 29.
                                                -9-
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    1           These findings are further supported by Detective Sergeant Jonathan Witt (a
    2 COLP officer), who concluded in a report dated October 24, 2017 that the Forged
    3 Police Report was “not authentic.”52 On June 11, 2019, the COLP provided additional
    4 documents to Petitioner, detailing the COLP’s internal investigation into the Forged
    5 Police Report’s authenticity as well as contact with media outlets following enquiries
    6 into the Petitioner’s arrest.53 Whilst this information was helpful, it failed to assist
    7 the Petitioner in identifying the author(s) or distributor(s) of the Forged Police
    8 Report.54
    9           G.    Petitioner’s Contemplated Proceedings
   10           Petitioner has suffered considerable reputational harm as a result of the creation
   11 and dissemination of the lies contained in the Forged Police Report. Accordingly,
   12 Petitioner contemplates initiating criminal and civil proceedings against the Forgers
   13 in the United Kingdom.55
   14           Contemplated Criminal Proceedings.          Petitioner seeks to initiate, either
   15 through public or private prosecutions,56 criminal proceedings in England & Wales
   16 against the Forgers for violations of the Forgery and Counterfeiting Act 1981, the
   17 Fraud Act 2006, and the Malicious Communications Act 1988 (“Contemplated
   18 Criminal Proceedings”).57 As explained in the Declaration of Lord Macdonald of
   19 River Glaven Kt QC—the former Director of Public Prosecutions in England &
   20 Wales—the Forgers have contravened the Forgery and Counterfeiting Act 1981
   21 because in creating and maliciously disseminating the Forged Police Report—plainly
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           52
              Watson Decl. ¶ 28.
   24      53
              Id. ¶ 27.
   25      54
              Macdonald Decl. ¶ 20.
           55
   26         Id. ¶¶ 24-38; Watson Decl. ¶¶ 33-44.
           56
              Under English law, a victim of a crime may initiate a private prosecution without
   27   police or State intervention. See Macdonald Decl. ¶¶ 36-38.
           57
   28         Macdonald Decl. ¶¶ 24-38.
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    1 a false instrument under English law—the Forgers intended by their acts to harm, and
    2 actually harmed, the Petitioner.58 The Forgers also contravened Sections 2, 6, and 7
    3 of the Fraud Act 2006 under English law because the Forged Police Report was
    4 intended by the Forgers to be perceived by its readers as a genuine police report; the
    5 implied assertion that it was genuine amounted to a false representation; the Forgers
    6 knew this was a false representation; and their plain and inescapable intention in
    7 making this false representation was to cause loss to the Petitioner. 59 Similar
    8 reasoning applies equally to anyone further down the chain who passed the Forged
    9 Police Report on knowing it was a fake and intending thereby to cause loss to the
   10 Petitioner. Similarly, the Forgers contravened the Malicious Communications Act
   11 1988 because when the Forgers conveyed the report to others, they did so knowing it
   12 contained false information (because that information had been invented), and with
   13 full awareness that it would inevitably be drawn to the Petitioner’s attention (thus
   14 establishing the necessary intention under English law), with the equally inevitable
   15 result that the Petitioner would be caused distress and anxiety. 60 To this end,
   16 Petitioner has retained English counsel to pursue these claims, who have already
   17 begun preparing pleadings, including criminal summonses.61
   18          Contemplated Civil Proceedings. The Petitioner contemplates initiating civil
   19 proceedings against the Forgers.62 Specifically, Petitioner intends to bring a claim of
   20 negligent misstatement, libel, and/or slander against the Forgers on the theory that the
   21 Forgers owed Petitioner a duty of care not to publish private information about him
   22 which they knew to be false, yet did so regardless, which information the media (and
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   25          Macdonald Decl. ¶¶ 27-28.
          59
               Id. ¶¶ 29-30.
   26     60
               Id. ¶¶ 32-33.
   27     61
               Id. ¶ 24.
          62
   28          Watson Decl. ¶ 33.
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    1 possibly others) have relied on, thereby causing Petitioner to suffer loss, including
    2 serious harm to his reputation (“Contemplated Civil Proceedings”).63
    3           To this end, the Petitioner has retained English counsel to pursue civil claims
    4 in England & Wales, including (without limitation) negligent misstatement, libel,
    5 and/or slander. 64 English counsel has begun preparing pleadings to pursue these
    6 claims.65 While these claims may initially be brought against Persons Unknown (akin
    7 to John Doe defendants in the US), it would be more efficient from the outset to
    8 initiate these proceedings against a named defendant(s).66
    9           H.    The New York Section 1782 Applications
   10           On August 6, 2019, the Petitioner petitioned the U.S. District Court for the
   11 Southern District of New York (“SDNY”) for an order authorizing Petitioner to
   12 conduct discovery from Fast Company relating to the Baram Article (“First SDNY
   13 1782 Application”). On August 9, 2019, the Magistrate Judge Stewart D. Aaron
   14 granted the First Section 1782 Application. 67 The Petitioner subsequently served
   15 subpoenas on Fast Company and Mansueto Ventures LLC (Fast Company’s
   16 publisher). On August 27, 2019, Fast Company/Mansueto requested a 2-week
   17 extension to produce responsive documents pursuant to the subpoenas.68 Petitioner
   18 consented to this request.69
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           63
   22         Id. ¶¶ 33-44.
           64
              Id. ¶¶ 33-34, 46-48.
   23      65
              Id.
   24      66
              Id. ¶¶ 35, 49. A Persons Unknown lawsuit would need to be amended within
        months to add the names of the defendant(s). Thus, and since it is unclear how this
   25   Application will unfold, it would be more efficient and judicially economical to file
        the foreign civil lawsuit onces those name(s) are identified.
   26      67
               Bento Decl. Ex. 10.
   27      68
               Bento Decl. Ex. 11.
           69
   28          Id.
                                                 -12-
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    1           Between September 17, 2019 and October 21, 2019, Fast Company/Mansueto
    2 produced certain information about the Forged Police Report 70 but Mr. Baram
    3 (through Fast Company) refused to produce Identifying Information about the identity
    4 of the D.C. Source, on the basis that Mr. Baram was purportedly permitted to withold
    5 the identity of the D.C. Source under the “reporter’s privilege.”71
    6           On October 31, 2019, Petitioner therefore filed in the SDNY a Section 1782
    7 application against Mr. Baram to obtain Identifying Information sufficient to identify
    8 the D.C. Source (“Second SDNY 1782 Application”). 72 On February 18, 2020,
    9 Magistrate Judge Stewart Aaron denied Petitioner’s application, finding that although
   10 he had met the mandatory criteria of § 1782, the court held that Mr. Baram could
   11 invoke the reporter’s privilege to withold the name of the D.C. Source.73
   12           On March 3, 2020, Petitioner filed a motion for reconsideration, and on April
   13 14, 2020, the court granted the motion for reconsideration but adhered to its prior
   14 decision because Petitioner had “failed to make a clear and specific showing that the
   15 identity of the [D.C. Source] is not obtainable from other available sources,” noting
   16 that “Petitioner ha[d] tools available to him to obtain discovery” from three other
   17 potential sources.74 On September 8, 2020, Petitioner filed a motion to supplement,
   18 amend and/or renew his application, which included sworn affidavits from those three
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           70
   20           The information produced by Fast Company confirmed that Mr. Baram was
        told by the City of London Police that the Forged Police Report was not authentic,
   21   that the purported police officer on the report does not work for the police, and that in
        any event the forged report did not look like the type of report the City of London
   22   Police would use. See, e.g., Watson Decl., Ex. 3. For reasons that are unknown to
        Petitioner, Mr. Baram nevertheless proceeded to publish his story making reference
   23   to the Forged Police Report, including to the report’s content. See id. Ex. 5.
            71
               Bento Decl. Exs. 5, 7.
   24       72
               To be clear, Petitioner does not seek information already produced by Fast
   25   Company, Mansueto, or Mr. Baram pursuant to the First Section 1782 Application.
            73
               In re Application of Shervin Pishevar for an Order to take Discovery for use
   26   in Foreign Proceedings Pursuant to 28 U.S.C. § 1782, 439 F. Supp. 3d 290, 301-07
        (S.D.N.Y. 2020).
   27       74
               In re Pishevar, 1:19-MC-00503 (JGK), 2020 WL 1862586, at *4-5 (S.D.N.Y.
   28   Apr. 14, 2020) (citation omitted).
                                                   -13-
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    1 potential sources stating in substance that none of these individuals has any
    2 knowledge regarding the D.C. Source or of the provenance of the Forged Police
    3 Report.75
    4          On October 3, 2020, the court granted Petitioner’s renewed application in the
    5 Second SDNY 1782 Application and found that for purposes of the reporter’s
    6 privilege analysis Petitioner had “exhausted reasonable alternative sources of
    7 information” and found that “the reporter’s privilege has been overcome.” 76
    8 Accordingly, the court ordered Mr. Baram to disclose to Petitioner the name and
    9 location of the D.C. Source.77
   10          On October 19, 2020, Mr. Baram filed objections against the court’s October
   11 3, 2020 order.78 On November 2, 2020, Petitioner filed his opposition to Mr. Baram’s
   12 objections. 79 On January 21, 2021, the court scheduled oral argument for February
   13 12, 2021 (“SDNY Hearing”).80 On February 2, 2020, Mr. Baram, with Petitioner’s
   14 consent, moved to adjourn the SDNY Hearing to February 19, 2021. 81 Upon
   15 receiving new information from the Respondent about the D.C. Source, Petitioner,
   16 with Mr. Baram’s consent, on February 9, 2021, moved to adjourn the SDNY Hearing
   17 pending investigation into this new information.82 On February 10, 2021, the court
   18 granted the parties’ request and adjourned the SDNY Hearing to April 22, 2021.83
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   21     75
               Second SDNY 1782 Application, ECF 86-92.
   22     76
               In re Pishevar, 1:19-MC-00503 (JGK), 2020 WL 8299764, at *5 (S.D.N.Y.
        Oct. 3, 2020).
   23     77
               Id.
   24     78
               Second SDNY 1782 Application, ECF 100.
          79
   25          Second SDNY 1782 Application, ECF 101.
          80
               Second SDNY 1782 Application, Minute Entry dated January 21, 2021.
   26     81
               Second SDNY 1782 Application, ECF 102.
   27     82
               Second SDNY 1782 Application, ECF 104.
          83
   28          Second SDNY 1782 Application, ECF 105.
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    1 On February 23, 2021, Petitioner filed the present Application seeking documentary
    2 and testimonial evidence from the Respondent about the identity of the D.C. Source.
    3            I.    Respondent Possesses Highly Material Information Concerning The
    4                  D.C. Source
    5            The Respondent has confirmed that he possesses Identifying Information that
    6 may assist the identification of the D.C. Source, i.e. the individual who met with Mr.
    7 Baram in or around September 2017 and provided him with the Forged Police Report
    8 and Other False Information.84 The Respondent has explained that he is unable to
    9 provide this Identifying Information unless ordered to do so by a Subpoena.85 The
   10 Respondent is therefore in possession, custody, and control of Identifying Information
   11 highly material to the Contemplated English Proceedings.                    This Identifying
   12 Information, inter alia, relates to the identity and location of the D.C. Source, who
   13 received the Forged Police Report and Other False Information from the UK Source;
   14 the identity and location of the individual capable of identifying the UK Source; and
   15 any other information relating to the provenance and falsity of the report, including
   16 anyone who may have commissioned or had any involvement in planning, preparing,
   17 or disseminating the Forged Police Report and Other False Information—facts and
   18 issues that are critical and indispensable to the Contemplated English Proceedings.86
   19 II.        ARGUMENT
   20            A.    Legal Framework
   21            Section 1782 of Title 28 of the United States Code permits United States
   22 District Courts to grant discovery for use in a foreign proceeding. The statute, in
   23 relevant part, states:
   24            The district court of the district in which a person resides or is found may
                 order him to give his testimony or statement or to produce a document
   25
                 or other thing for use in a proceeding in a foreign or international tribunal
   26
            84
   27            Bento Decl. ¶ 15.
            85
                 Bento Decl. ¶ 16.
   28       86
                 Macdonald Decl.¶¶ 39-40; Watson Decl.¶¶ 45-49..
                                                -15-
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    1         . . . . The order may be made . . . upon the application of any interested
              person . . . .
    2
    3 28 U.S.C. § 1782.
    4         Courts routinely grant Section 1782 applications on an ex parte basis. See In Re
    5 Letters Rogatory From Tokyo Dist., Toyko, Japan, 539 F.2d 1216, 1219 (9th Cir.
    6 1976) (granting § 1782 request on ex parte basis and noting that witnesses subject to
    7 discovery requests “can and have raised objections and exercised their due process
    8 rights by motions to quash the subpoenas”); see also Petitioner’s Request to Proceed
    9 Ex Parte ¶¶ 2-3 (collecting cases).
   10         An application made pursuant to Section 1782 must satisfy three statutory
   11 requirements: (1) the person from whom discovery is sought must reside or be found
   12 in the district in which the application is filed; (2) the discovery must be for use in a
   13 proceeding before a foreign tribunal; and (3) the application must be made by a
   14 foreign or international tribunal or any interested person. 28 U.S.C. § 1782(a);
   15 Akebia Therapeutics, Inc. v. FibroGen, Inc., 793 F.3d 1108, 1110 (9th Cir. 2015).
   16         After determining that the three statutory requirements are satisfied, courts may
   17 then consider four discretionary factors in deciding whether to grant a Section 1782
   18 application, namely: (i) whether the documents or testimony sought are within the
   19 foreign tribunal’s jurisdictional reach, and thus accessible absent Section 1782 aid;
   20 (ii) the nature of the foreign tribunal, the character of the proceedings underway
   21 abroad, and the receptivity of the foreign government or the court or agency abroad
   22 to U.S. federal-court judicial assistance; (iii) whether the Section 1782 request
   23 conceals an attempt to circumvent foreign proof-gathering restrictions or other
   24 policies of a foreign country or the United States; and (iv) whether the subpoenas
   25 contain unduly intrusive or burdensome requests. See Intel Corp v. Advanced Micro
   26 Devices, Inc., 542 U.S. 241, 244, 264–65 (2004); In re Golden Root Invs. PTE Ltd.,
   27 2019 WL 8011743, at *1 (C.D. Cal. Sept. 6, 2019).
   28
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    1          Moreover, courts in this Circuit evaluate discovery requests under Section 1782
    2 in light of the “twin aims” of the statute: “providing efficient assistance to participants
    3 in international litigation, and encouraging foreign countries by example to provide
    4 similar assistance to courts in the United States.” Siemens AG v. W. Digital Corp.,
    5 2013 WL 5947973, at *2 (C.D. Cal. Nov. 4, 2013). And the Supreme Court and the
    6 Ninth Circuit have both acknowledged a Congressional intent to provide a liberal
    7 avenue to discovery in aid of foreign and international proceedings. See, e.g., Intel,
    8 542 U.S. at 247-48, 260; In re Premises Located at 840 140th Ave. NE, Bellevue,
    9 Wash., 634 F.3d 557, 562–63 (9th Cir. 2011) (“In the 20th century, Congress . . .
   10 remov[ed] more of the absolute restrictions on the courts’ ability to provide assistance
   11 [under Section 1782] . . . . One of the important congressional purposes in broadening
   12 the scope of federal-court assistance was to encourage reciprocity by other nations.”)
   13 (citing cases and internal citations omitted); Advanced Micro Devices, Inc. v. Intel
   14 Corp., 292 F.3d 664, 669 (9th Cir. 2002) (The “allowance of liberal discovery seems
   15 entirely consistent with the twin aims of Section 1782”), aff’d, 542 U.S. at 241; see
   16 also Brandi-Dohrn v. IKB Deutsche Industriebank AG, 673 F.3d 76, 80 (2d Cir. 2012)
   17 (“[T]he statute has, over the years, been given increasingly broad applicability.”)
   18 (internal quotation marks and citation omitted).
   19          A.    Petitioner Satisfies The Statutory Requirements Of 28 U.S.C. § 1782.
   20          Petitioner satisfies the three statutory requirements of section 1782: (1) the
   21 Respondent is “found” in the Central District of California; (2) the requested
   22 Identifying Information is for use in the Contemplated English Proceedings; and (3)
   23 Petitioner is an “interested person” as the putative plaintiff and complainant in those
   24 foreign proceedings.87
   25
   26
          87
   27        See also In re Application of Shervin Pishevar for an Order to take Discovery
      for use in Foreign Proceedings Pursuant to 28 U.S.C. § 1782, 439 F. Supp. 3d 290,
   28 301-03 (S.D.N.Y. 2020).
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    1                 1.       Respondent Is “Found” In The Central District of California.
    2           The Respondent resides and works in Los Angeles and therefore resides and is
    3 “found” in this District for purposes of Section 1782.88
    4                 2.       The Discovery Sought Is For Use In Foreign Proceedings.
    5           The Identifying Information sought in the Subpoenas is “for use” in foreign
    6 proceedings. See In re Application of Shervin Pishevar, 439 F. Supp. 3d 290, 302
    7 (S.D.N.Y. 2020) (holding that Petitioner’s need for the identity of the D.C. Source
    8 meets the “for use” requirement under Section 1782). Section 1782 does not require
    9 the foreign proceedings to be “pending” or “imminent,” and permits courts to
   10 authorize discovery provided that the foreign proceedings are “within reasonable
   11 contemplation” when the request for judicial assistance is filed. In re Pioneer Corp.
   12 for an Order Permitting Issuance of Subpoenas to Take Discovery in a Foreign
   13 Proceeding, 2018 WL 2146412, at *2, *6 (C.D. Cal. May 9, 2018) (citation omitted);
   14 see also Intel, 542 U.S. at 258–59 (noting that “[i]t is not necessary . . . for the
   15 [adjudicative] proceeding to be pending at the time the evidence is sought, and that
   16 the statute requires only that the evidence is eventually to be used in such a
   17 proceeding”) (citation omitted).
   18           Petitioner’s    Contemplated   English    Proceedings    qualify   as   “foreign
   19 proceedings” for purposes of Section 1782. Here, the declarations of Petitioner’s
   20 English lawyers, which aver that they have been retained to pursue the claims
   21 articulated in their declarations and that they have begun preparing the necessary
   22 pleadings, is objective evidence that Petitioner’s “foreign proceeding” is “within
   23 reasonable contemplation.” See In re Hornbeam Corp., 722 F. App’x 7, 9-10 (2d Cir.
   24 2018) (holding that a foreign proceeding was reasonably contemplated where the
   25 applicant “represented that it intended to initiate further litigation,” and “articulated a
   26 theory on which it intended to litigate[.]”) (citation omitted); In re Furstenberg Fin.
   27
   28      88
                Bento Decl. Exs. 3, 4.
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    1 SAS, 2018 WL 3392882, at *4 (S.D.N.Y. July 12, 2018) (holding that for use
    2 requirement was been met where petitioners swore that they intended to file a criminal
    3 complaint in Luxembourg Criminal Court and articulated a specific legal theory on
    4 which they intended to rely); see also In re: Application of Bracha Found., 663 F.
    5 App’x 755, 763-64 (11th Cir. 2016) (affirming district court’s decision that foreign
    6 proceeding was within reasonable contemplation because “[applicants] have
    7 represented their intention to return to litigation in the BVI and have articulated a
    8 theory upon which they intend to litigate”); Bravo Express Corp. v. Total
    9 Petrochemicals & Ref. U.S., 613 F. App’x 319, 323 (5th Cir. 2015) (finding that the
   10 application was for use in a contemplated proceeding because, inter alia, Petitioner
   11 filed a “sworn affidavit” from his foreign lawyer that he had prepared papers).
   12         The Contemplated English Proceedings qualify as a proceeding in a “foreign
   13 or international tribunal” for purposes of Section 1782. Indeed, numerous courts have
   14 found that civil proceedings before English courts satisfy Section 1782. See e.g. In
   15 re Letter of Request from Crown Prosecution Serv. of U.K., 870 F.2d 686, 691
   16 (D.C.Cir.1989) (“[T]here is no question that British courts qualify as ‘tribunals’ [for
   17 1782 purposes].”); In re Ex Parte Application of Glob. Energy Horizons Corp., 2015
   18 WL 1325758, at *2 (N.D. Cal. Mar. 24, 2015) (holding that “proceeding before the
   19 High Court of Justice in England, United Kingdom [] is undisputedly a ‘proceeding
   20 before a foreign or international tribunal’ under Section 1782(a)”) (citations omitted);
   21 In re Catalyst Managerial Servs., DMCC, 680 F. App’x 37, 41 (2d Cir. 2017). With
   22 regard to the Contemplated Criminal Proceedings in particular, Section 1782(a)
   23 explicitly provides that the statute can be used to obtain discovery for use in “criminal
   24 investigations conducted before formal accusation,” and courts in this Circuit have
   25 confirmed the availability of Section 1782 for such criminal investigations. 28 U.S.C.
   26 § 1782(a); In re Societe d’Etude de Realisation et d’Exploitation pour le Traitement
   27 du Mais, 2013 WL 12440994, at *1-2 (N.D. Cal. Nov. 21, 2013) (granting 1782
   28 application for use in contemplated criminal investigation in the United Kingdom); In
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    1 re Ex Parte Application of Jommi, 2013 WL 6058201, at *3 (N.D. Cal. Nov. 15,
    2 2013). Thus, the Contemplated English Proceedings plainly qualify as foreign
    3 proceedings under Section 1782.
    4          Petitioner is not required to show that the Identifying Information sought would
    5 be discoverable or admissible in the Contemplated English Proceedings. Intel, 542
    6 U.S. at 260 (“[N]othing in the text of § 1782 limits a district court’s production-order
    7 authority to materials that could be discovered in the foreign jurisdiction if the
    8 materials were located there.”). Rather, the burden on the Petitioner is de minimis;
    9 petitioners need only show that the evidence is relevant to the Contemplated English
   10 Proceedings. See IPCom GMBH & Co. KG v. Apple Inc., 61 F. Supp. 3d 919, 924
   11 (N.D. Cal. 2014) (finding that even 1782 disovery that has a low probability of being
   12 relevant to the foreign proceedings satisfy the statutory factors); In re Pioneer Corp.,
   13 2018 WL 4963126, at *5 (C.D. Cal. Aug. 27, 2018).
   14          Here, the Petitioner plainly satisfies this requirement.       The Identifying
   15 Information sought in the Subpoenas is highly relevant to the Contemplated English
   16 Proceedings. Indeed it relates to the identity and location of the D.C. Source, i.e. the
   17 only known person who is able to identify the UK Source and any other information
   18 relating to the provenance and falsity of the report, including anyone who may have
   19 commissioned or had any involvement in planning, preparing, or disseminating the
   20 Forged Police Report and Other False Information—facts and issues that are critical
   21 to the Contemplated English Proceedings. The Petitioner will use this Identifying
   22 Information to plead and prove his civil and criminal claims in the United Kingdom.89
   23                3.     Petitioner Is An “Interested Person.”
   24          Finally, Section 1782 requires persons seeking discovery to show they possess
   25 a reasonable interest in the foreign proceedings. While Section 1782 broadly covers
   26 those with the right to participate and submit evidence in foreign proceedings, see
   27
   28     89
               Watson Decl. ¶ 49; Macdonald Decl. ¶ 40.
                                              -20-
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    1 Certain Funds, Accounts &/or Inv. Vehicles v. KPMG, L.L.P., 798 F.3d 113, 120 (2d
    2 Cir. 2015), there is “[n]o doubt litigants are included among, and may be the most
    3 common example of, the ‘interested person[s] who may invoke § 1782[,]” Intel, 542
    4 U.S. at 256; Ex Parte ANZ Commodity Trading Pty Ltd., 2017 WL 3334878, at *3
    5 (N.D. Cal. Aug. 4, 2017) (applicant qualifies as “interested person” because “it will
    6 be a party to the anticipated litigation”). Petitioner will be a party to the Contemplated
    7 English Proceedings and is therefore an “interested person” under Section 1782.90
    8           B.    All Of The Discretionary Factors Of Section 1782 Weigh In Favor
    9                 of Permitting The Discovery Petitioner Seeks.
   10           Once the threshold requirements under section 1782 are met, the Court should
   11 consider the four discretionary “Intel factors.” Each of these factors weighs in favor
   12 of granting the requested discovery here.
   13           First, the Respondent will not be a party to the Contemplated English
   14 Proceedings. Second, there is no reason to believe that English courts would be
   15 unreceptive to evidence obtained through Section 1782 discovery. Third, Petitioner
   16 is acting in good faith and is not seeking to avoid any foreign restriction on gathering
   17 evidence.      Fourth, Petitioner’s narrow requests are carefully circumscribed and
   18 targeted to key facts so as to avoid undue burden on the Respondent.
   19                 1.    The First Intel Factor Favors Granting Discovery.
   20           The first Intel factor asks whether the party from whom discovery is sought is
   21 a party to the foreign proceeding. “[W]hen the person from whom discovery is sought
   22
           90
   23           With regard to the Contemplated Criminal Proceedings, if a public prosecution
        is elected, Petitioner qualifies as an “interested person” as a victim and aggrived party
   24   of the crime. See e.g. In re Ex Parte Application of Jommi, 2013 WL 6058201, at *3
        (N.D. Cal. Nov. 15, 2013) (“Petitioner is the complainant in the criminal proceeding
   25   and thus an interested person for purposes of § 1782(a).”) (citation omitted); In re
        Children’s Inv. Fund Found. (UK), 363 F. Supp. 3d 361, 372 (S.D.N.Y. 2019) (same);
   26   In re Ex Parte Application of SERETM, 2013 WL 12440994, at *1 (N.D. Cal. Nov.
        21, 2013) (holding that a victim of fraud is an interested person under Section 1782).
   27   Indeed, Petitioner will have the practical ability to introduce evidence concerning the
        identity of the Forger regardless of which type of prosecution (private or public) is
   28   initiated. Macdonald Decl. ¶¶ 27-38.
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    1 is a participant in the foreign proceeding . . . the need for § 1782(a) aid generally is
    2 not as apparent as it ordinarily is when evidence is sought from a nonparticipant in
    3 the matter arising abroad.” Intel, 542 U.S. at 244, 264. Here, the Respondent will not
    4 be a party to the Contemplated English Proceedings.91
    5                2.    The Second Intel Factor Favors Granting Discovery.
    6          Under the second Intel factor, this Court should look to whether the foreign
    7 tribunal would be receptive to the evidence obtained through section 1782. See
    8 Siemens, 2013 WL 5947973, at *3 (“The second Intel factor asks whether the foreign
    9 court is willing to consider the information sought.”) (citation omitted). There is a
   10 strong presumption that the foreign tribunal will be receptive to evidence obtained in
   11 the United States. Indeed, “when evaluating whether foreign tribunals would accept
   12 U.S. assistance, courts look for authoritative proof that a foreign tribunal would reject
   13 evidence obtained with the aid of section 1782.” Id. (emphasis added and citation
   14 omitted); Euromepa S.A. v. R. Esmerian, Inc., 51 F.3d 1095, 1102 (2d Cir. 1995)
   15 (“Absent specific directions to the contrary from a foreign forum, the statute’s
   16 underlying policy should generally prompt district courts to provide some form of
   17 discovery assistance.” ); Palantir Techs., Inc. v. Abramowitz, 415 F. Supp. 3d 907,
   18 915 (N.D. Cal. 2019) (“[I]n the absence of authoritative proof that a foreign tribunal
   19 would reject evidence obtained with the aid of section 1782, courts tend to err on the
   20 side of permitting discovery.”) (citation omitted), appeal dismissed sub nom. In re
   21 Palantir Techs., Inc., 2020 WL 3988000 (9th Cir. June 22, 2020) .
   22          The English courts will be receptive to evidence obtained through this
   23 Application.92 In re Application of Shervin Pishevar, 439 F. Supp. 3d 290, 303-304
   24 (S.D.N.Y. 2020) (holding that Petitioner “has made a showing that the English courts
   25 would be receptive to evidence obtained” through the 1782 application). Petitioner
   26
   27     91
            Watson Decl. ¶ 34 n.8; Macdonald Decl. ¶ 26 n.14.
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   28        Watson Decl. ¶¶ 50-53; Macdonald Decl. ¶¶ 41-46. At minimum, there is no
      authoritative proof that the English courts would reject the evidence obtained here.
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    1 will have the opportunity to use the Identifying Information obtained in this
    2 Application in pleading his claims (i.e., in the complaint/claim form, and criminal
    3 complaint and/or criminal summons) as well as to prove its claims and enforce any
    4 remedies and/or sanctions.93
    5                3.    The Third Intel Factor Favors Granting Discovery.
    6          The third Intel factor looks to “whether the § 1782(a) request conceals an
    7 attempt to circumvent foreign proof-gathering restrictions or other policies of a
    8 foreign country or the United States.” Intel, 542 U.S. at 265. The Intel Court
    9 expressly rejected the notion that Section 1782 requires that the evidence sought must
   10 be discoverable in the foreign proceeding itself, and the Ninth Circuit has added that
   11 the specific documents or testimony discovered need not be admissible abroad. Intel,
   12 292 F.3d at 669 (9th Cir. 2002), aff’d, 542 U.S. 241; see also Brandi-Dohrn, 673 F.3d
   13 at 82 (“While Intel concerned the discoverability of evidence in the foreign
   14 proceeding, we see no reason why it should not extend to the admissibility of evidence
   15 in the foreign proceeding. As in Intel, there is no statutory basis for any admissibility
   16 requirement.”) (emphasis in original); Intel, 542 U.S. at 261 (“A foreign nation may
   17 limit discovery within its domain for reasons peculiar to its own legal practices,
   18 culture, or traditions—reasons that do not necessarily signal objection to aid from
   19 United States federal courts.”). Nor is there any requirement that Petitioner must
   20 exhaust his remedies in the foreign court first. See In re Cathode Ray Tube (CRT)
   21 Antitrust Litig., 2013 WL 183944, at *3 (N.D. Cal. Jan. 17, 2013) (“Courts need not
   22 determine that an applicant has exhausted its discovery attempts abroad.”) (citing
   23 Euromepa, 51 F.3d at 1098 (“Relying on the plain language of the statute, this Court
   24 has also refused to engraft a ‘quasi-exhaustion requirement’ onto section 1782 that
   25 would force litigants to seek ‘information through the foreign or international
   26 tribunal’ before requesting discovery from the district court.”) (citation omitted));
   27
   28     93
               Watson Decl. ¶¶ 45-49; Macdonald Decl. ¶¶ 39-40.
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    1 Intel, 542 U.S. at 244 (“Section 1782 is a provision for assistance to tribunals abroad.
    2 It does not direct [U.S.] courts to engage in comparative analysis to determine whether
    3 analogous proceedings exist here.”); In re Application for an Order Permitting
    4 Metallgesellschaft AG to take Discovery, 121 F.3d 77, 79 (2d Cir. 1997) (“[A] ‘quasi-
    5 exhaustion requirement’ finds no support in the plain language of the statute and runs
    6 counter to its express purposes[.]”) (citation omitted).
    7          Here, there is no reason to believe that any of the discovery sought violates any
    8 foreign laws and/or public policy.        Petitioner does not seek customer account
    9 information, state secrets, or attorney-client communications—he merely seeks
   10 Identifying Information relating to the individual who provided a forged police report
   11 to a journalist. The English jurisdiction does not have any law or public policy against
   12 such discovery. To the contrary, as the Declaration of Lord Macdonald of River
   13 Glaven Kt QC notes, it would be in the public interest to prosecute the Forgers of such
   14 a document and discovering its provenance is the only way to achieve that aim.94
   15                4.     The Fourth Intel Factor Favors Granting Discovery.
   16          The fourth Intel factor looks to whether the requests are “unduly intrusive or
   17 burdensome.” Intel, 542 U.S. at 245, 265. The standard is substantially the same as
   18 in ordinary domestic civil litigation under the Federal Rules of Civil Procedure. “The
   19 reference in § 1782 to the Federal Rules suggests that under ordinary circumstances
   20 the standards for discovery under those rules should also apply when discovery is
   21 sought under the statute.” In re Bayer AG, 146 F.3d 188, 195 (3d Cir. 1998). Here,
   22 the document and limited deposition 95 requests are narrowly tailored, temporally
   23
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   25     94
             Macdonald Decl. ¶ 35; In re Application of Shervin Pishevar, 439 F. Supp. 3d
      290, 302 (S.D.N.Y. 2020) (holding that Petitioner’s application did not seek to
   26 cirvumvent English laws and policies).
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   27        Petitioner would also be willing to withdraw the deposition in exchange for
      the Respondent providing a sworn affidavit containing information sufficient to
   28 identify the D.C. Source.
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    1 limited, and directly relevant to the issues in the foreign proceedings.96 In addition,
    2 Petitioner is willing to discuss a potential protective order with the Respondent
    3 concerning disclosure of information to be produced by the Respondent. See, e.g.
    4 Minatec Fin. S.A.R.L. v. SI Group Inc., 2008 WL 3884374, at *1 (N.D.N.Y. Aug. 18,
    5 2008) (“[T]he beauty of § 1782 is that it permits this Court to impose a protective
    6 order that would extinguish any concern that privileged, confidential, or proprietary
    7 information would be indecorously revealed.”).
    8           Whatever burden the Respondent may incur by producing the requested
    9 discovery, it is both modest and proportionate given the circumstances.
   10 III.      CONCLUSION
   11           For the foregoing reasons, Petitioner respectfully requests that the Court (a)
   12 grant the Ex Parte Application And Petition For An Order To Conduct Discovery; (b)
   13 enter the Proposed Order attached to the Bento Declaration as Exhibit 1, (c) authorize
   14 Petitioner, pursuant to 28 U.S.C. § 1782, to serve the Subpoenas; and (d) grant any
   15 and all other relief to Petitioner as is deemed just and proper.
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   19           While Petitioner understands that the Respondent may be prevented from
        disclosing the Identifying Information absent the Subpoenas due to the existence of a
   20   purported confidentiality agreement between the Respondent and a third party, once
   21   the Subpoenas have been served, such a confidentiality agreement cannot exempt the
        Respondent from his compliance obligations. See, e.g.,BLK Enterprises, LLC v. Unix
   22   Packaging, Inc., 2018 WL 5993841, at *4 (C.D. Cal. Sept. 26, 2018) (“[P]arties
   23   cannot simply vitiate their discovery obligations by asserting third party privacy rights
        based on NDAs.”); Saini v. Int’l Game Tech., 434 F. Supp. 2d 913, 922 (D. Nev.
   24   2006) (stating that it is an “unremarkable proposition that confidentiality agreements
   25   will not stand as a barrier to discovery”); In re C.R. Bard, Inc. Pelvic Repair Sys.
        Prods. Liab. Litig., 287 F.R.D. 377, 384 (S.D. W.Va. 2012) (collecting cases and
   26   stating that “private confidentiality agreements do not preclude the production of
   27   documents for the purpose of discovery.”); see also Ubiquiti Networks, Inc. v. Kozumi
        USA Corp., 295 F.R.D. 517, 525, n.4 (N.D. Fla. 2013) (identity of a private
   28   investigator’s client is not protected from disclosure).
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    1   Dated: Los Angeles, CA               Respectfully submitted,
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